Case 2:93-cv-02004-.]PI\/| Document 215 Filed 08/15/05 Page 1 of 2 Page|D 97

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IN THE UNITED STATES DISTRICT COURT

FOR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 AUB |5 PH 2» Uh

 

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ROBERT DAVI s , et a l . , U§ijj`,-’ii" {Z"` },¢;:3"¢%3

Plaintiffs,
v. No. 93-2004 Ml

TED SUTTON, et al.,

-....¢\-._r-._¢-._/-.d‘-..rv-._r~._¢

Defendants.

 

ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Special Master in this case, Charles Fisher, has
submitted an invoice for fees and expenses incurred in connection
with this matter for the month of July, 2005, in the amount of
$2,439.26. Accordingly, the Clerk of Court is directed to send
the total sum of $2,439.26 to the Special Master, Charles Fisher,

at 622 South Main Street, Covington, Tennessee 38019.

IT IS SO ORDERED THIS f\S“DAY Of August, 2005.

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, J P. MCCALLA
ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 215 in
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Honorable J on McCalla
US DISTRICT COURT

